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UNI'I`ED STATES DIS’I'RICT COURT
FOR 'I'HE WESTER.N DISTR.ICT OF TENNESSEE
EASTERN DIVISION

 

LARRY S'I'EVE MELTON, LAR.RY S. MELTON,
AND R & J OF TEN'NESSEE, INC.,

Plaintiffs,

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)
)
)
§
vs. ) PROTECTIVE ORDER
)
BANK OF LEXINGTON branch of the BAN'K ) NO: 1-02-1152 B
OF FR]ENDSHIP, TERESA HAR.RIS, B &. H )
DJVES'I'MENTS, INC., BENNIE FESMIRE, )
DIANE TUcKER, HAROLD WALDEN )
BLANKENSH]P, DEA`N BLANKENS}HP, )
FRANKIE STA.NFILL, K.EVIN CARTER, )
'I`he law firm ofMILAM, CARTER & STANFILL, )
REGINA M]LLER., rI`C)DD HENDERSON, )
WILLIAM WILHITE, DAVID RIDDICK, )
The law firm of HOLMES, RICH, SIGLER &. )
R]DDICK, DON WEBSTER, HM'_MY BARBOUR, )
WALDON GW].`NN, JAMES PU'I'NAM, 'I`IM )
PILKINGTON, JANIES E. SM]'I'H, M. V. )
WILLIA.MS, .TR., INVESTMEN'I` MANAGEN[E`,NT )
FINANCE, INC., and JOI-IN DOES I, II, 111 and IV, )
)
)

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Defendants.

 

This Order pertains to those certain documents 1Which are the property of Federal Deposit
lnsurance Corporation, which are identified in Exhibit A attached hereto (and which are hereafter
collectively referred to as "document"), whether produced by or obtained directly or indirectly;
or in the form of a copy, exo'act, or complete or partial summary prepared in whole or in parr
from any such documents; or any portion of any deposition transcript and exhibits thereto which
relates to such doeument; or any portion of any brief, memorandum, or any other writing and
exhibit thereto filed with the Disu~ict Court which discloses the contents of any such docmnent.

With respect thereto, the District Court hereby makes and enters the following Protective Order;

This document entered on the docket sheet in com§|iance
with Fiu'.e 58 and/Or 79(3) FHCP on '

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1. That no document or information contained therein or obtained therefrom shall be
used for any purpose by the parties to this action, their agents and/or employees, except in
connection with this litigation; nor delivered, exhibited or disclosed to any person except (a) the
Distriet Courr., as provided in Paragraph 5; (b) in the course of depositions in this action, as
provided in Paragraph 4; (c) the parties' attomeys of record in this action and such attorneys'
employees; (d) such accountants or other experts as may be retained by the parties in this action
or by their attorneys of record to assist in the preparation and trial of this action; (e) the parties
and employees of the parties in this action; and (f) such persons to whom testimony or evidence
is required to be given pursuant to subpoena or other legal process in this action.

2. At the time of the production of any document whether in Distriet Court or at the
taking of a deposition, those portions thereof not material and relevant to this action, and the
names of all persons whose identities are not material and relevant to this action, shall be excised
from said document prior to the filing of same.

3. 'I`hat any person to whom delivery, e)dribition, or disclosure is made shall be
advised of the terms of this Protective Order and shall execute in advance a stipulation of
confidentiality in substantially the same form as that Stipulation attached to this Protective Order
as Appendix A. Each such person, upon signature of said stipulation, shall be subject to and
bound by this Protective Order.

4. Each portion of any deposition transcript refen'ing to (or containing any exhibit
referring to) any document or information contained therein or obtained therefi'om shall be filed
with the Distriet Court under seal, together with any exhibits so contained Counsel for the
respective parties are directed to place any documents to be filed under seal with the Clerk of the

Distriet Court for the Westem Distriet of Tennessee, Eastern Division, pursuant to this Order, in

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an envelope marked "scaled", and to file said documents directly with the supervisor of the filing
window.

5. Any document, if filed with the Distriet Court, shall be kept by the Clerlc of the
Distriet Court under seat and shall be made available only to the Distriet Court and persons
authorized by the terms of this Protective Order to have access thereto. The party liling any such
document shall be responsible for informing the Clerk of the Distriet Court that it is subject to
this Protective Order.

6. No document shall be copied except as part of a deposition transcript subject to
the provisions of this Protective Order.

7. That, if any document should be used at jury trial for any purpose, the jury shall
be instructed that the document contains confidential information which cannot be discussed or
disclosed outside the Distriet Court proceedings When the said document is not being used in
the courtroom proceedings, it shall be kept under seal by the Clerlc of the Dist:n'ct Court and only
persons authorized by the terms of this Protective Order shall have access thereto.

8. That at the conclusion of this action, all documents in the possession or control of
any person granted access to such documents, including all copies, extracts and summaries
thereof, shall forthwith be returned to the Regional Dircctor (Supervision) of the FDIC Dallas
Region - Memphis Area Oflice at 51 00 Poplar Avenue, Suite 1900, Memphis, Tennessee

38137.

DA'rEo this _lQ__day`ofl/Vu€ o200_. ;

The Honorabie .i-:'Baniei-Breen "\'L |e\ , Pka_,...\_
Ma.%;r\-<="£Q` Judge of the United States Distriet Court
For the Western Distriet of Tennessee,
-EasremDivision
\»“Csle~t

 

May 16, 2005 to the parties listed.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 579 in
case 1:02-CV-01152 Was distributed by faX, mail, or direct printing on

 

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Honorable J. Breen
US DISTRICT COURT

